                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATE,S OF,{.MERICA,                  )
                                             )
                         Plaintiff,          )
                                             )
                 v                           )
                                             )
TERRY       JOHNSON, in his official
            S.                               )
capacity as Alamance County                  )
Sheriff,                                     )
                                             )             12-CV-1,349
                         Defendant,          )
                                             )
                  and                        )
                                             )
BONE,Y PUBLISHERS, INC.,                     )
                                             )
                         Intervenor.         )



                                            ORDER

           The mattet is before the Court on Boney Publishets, Inc.'s ("Intervenot") Motion to

Modify the Joint Confidentiahty and Protective Otdet. (Docket Entry 74.) Plaintiff United

States opposes the      Motion. pocket F,ntry 77.) Defendant     does not oppose Intervenor's

Motion, and has not filed a motion in support fot or in opposition to its Motion. For the

following reasons, the Coutt denies Intervenot's Motion.

I. Bacþround
           On December 20, 201,2, Plaintiff filed this civil action against Defendant, Tetry   S.



Johnson in his official capacity as an Alamance County Shetiff, and requests declaratory and




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injunctive relief under 42U.S.C. S 14141. Plaintiff alleges that Defendant engaged                 in   an

intentionally discdmin tory pattern of policing that tatgeted Latinos in Alamance County.

        This Court gtanted the patties' Joint Motion for a Protective Order on April                    23,

201,2. (Joint Confìd. and Ptotective Otdet, Docket Entry              18.) The Protective         Otdet

explained that discovery documents would inciude the disclosute          of personal infotmation,

and   in order to   facllttate the exchange   of   such sensitive infotmation, the Otder would

protect against any unauthorized disclosure. (Id. at1,.) The Ordet defined any documents

that contained "personally identifìable infotmation" of non-parties as confidential in otdet to

protect witnesses from possible tetaliation ftom other non-pattie s. (Id. at 2.)

        On September 4,201,3, Boney Publishets, Inc. moved to íntervene (DocketBntty 42)

and on November 1,4,20'13, the motion was granted. (Docket Entry 67.) Intervenot avets

that the Ptotective Otdet violates the Nonh Caroltna Public Recotds Law and inftinges

upon the rights of the public to inspect the tecotds and ptoceedings befote the Coutt.

(Intervenor's Mem. S.tpp. Mot. to Modi$r, Docket Entry 75.) Intervenot asks the Coutt to

modi$' the Protective Order to allow public access to the judicial tecotds. Qd. at                      8.)


Intervenot's argument is simple     -   any document made       or teceived by a public office is

subject to a pubìic right of access codified in the    Noth   Caroltna Publ-ic Records       Law. (Id. at

2-3.) Therefote, Intetvenot     argues that because the Alamance County Sheriffs Office

('ACSO") is a public office, "any documents teceived by the defendants in this litigation               ate


public recotds that should be disclosed upon tequest unless they fall within a specific,

statutorT exemption    to the North Caroltna       Publ-ic Recotds   L^w."   (Id. at   3.)   Because no




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statutory exemption applies         to these documents, Intewenor concludes that it should          be

granted access to these documents.

          Intervenot futher argues that      in otder to comply with       state law and the Fitst

Amendment, this Coutt should modifu the Ptotective Ordet due to its expansive bteadth,

Intervenot takes exception to the way in which the Otder defìnes "personally identifiable

information" and argues that its reach should be narowed so as to only cover documents

that Plaintiff has shown "cleair and convincing evidence           of a compelling govetnmental
intetest in secrecy." (Id. at7 .)

          Plaintiff argues that Intervenor's motion should be denied and that "the Protective

Order is fully consistent with the Constitutional imperative for public ffials" and was enteted

for good cause. (Pl.'s Resp. in Opp., Docket Ent y 77 at 1,.) In support of its position,

Plaintiff offers a three-fold argument. First, the North Carohna Public Records Act, which

Intervenor bases its argument on) "exempts matetial subject to protective ordets." (Id. at2.)

Second, that "courts have wide discretion          to   fashion ptotective otdets   to   facilitate the

exchange    of sensitive information" (id. at1) and that the presumption of public        access only


applies   to 'judicial records' of which matedals       exchanged during discovery       or filed with

discovery motions          not patt. (Id. at 2.) Finally, Plaintiff avers that a state's public recotd
                     ^re
laws do not bind the fedetal judtciary. (Id.)

II.   Discussion

        As a general rule, federal courts may fotbid the disclosure of discovery fot good cause

by issuing "an ordet to protect a p^rty oÍ person ftom annoyance,                    embatlassment,

oppression, or undue burden or expense." Fed. R. Civ. P. 26(c)(1). This tule "confers broad


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discretion" to courts when deciding whethet to issue               a   ptotective ordet, and "what degree of

protection is tequired."         Seattle Times Co. u. Rhinehart,467     U.S. 20, 36 (1,984). Hete, the Coutt

issued the Protective Order covering personally identifiable infotmation                       of non-parties, in

order     to protect them from retaliation for coming forward as witnesses. Ptotecting
witnesses from retaliation constituted good cause when the Ptotective Otder was gtanted,

and still temains good cause.

           Intervenor asserts that the defìnition              in the Ptotective Ordet of             "personally

identifiable and confidential information" is too broad to comport v/ith Notth Carchna

Public Records        Law. (Interv. Mem., Docket E.rtty 75 at3.) It                   argues that because of this

sweeping language, only a statutory exemption could keep any document received or made

by ACSO undet seal, but that no such exemption exists. (Id.) Plaintiff argues that the North

Carcltna Public Records laws itself states               in N.C. Gen. Stat. $ 132-1.9(9) that "it        exempts

matedal protected by a court order." (Docket E.,try 77 at                  7   .)   Howevet, this section metely

grants the courts an exemption ftom the presumption of public access for documents that

ate considered wotk         ptoduct.l The documents Plaintiff wishes to keep under                 seal ate   in no

way wotk ptoduct telated, and thus do not receive the ptotection from this statutory

exemption.

           Intervenot next argues that documents filed with the Court are presumptively public

tecords. (Docket Entry 75 at 4.) This ptesumption does exist, but only fot 'judicial tecotds':

depositions, interrogatoties,          or othet similat documents transfetted be¡ween parties that




t   ltr/a/laceFarm,Inc. u. Citlt of Char/otte,203   N.C. App.744,1,46-47,689 S.E.2d 922,924 (2010)
                                                           4




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support dispositive motions adjudicating substantive tights.2 Documents merely exchanged

as   p^rt of discovelT, and which have not been attached to any dispositive motions, are not

'judicial records'.3 But once a dispositive motion is filed, the attached documents "lose theii

status of being raw fruits of discovery." Rashford u. I'Jew Yorker Maga{ne, Lnc.,846 F.2d 249,

252 (4th Cir. 1988). Here, as of this date no dispositive motions, such as motions fot

summary judgment, have been            filed. All of the documents sought by Intervenor are
discovery telated, and thus the presumption             of public access     has not attached        to   any

documents at this time.

           Intervenot futthet contends that the First Amendment, as well as the common-law,

cast a strong shadow     of presumptive public      access   on all other documents. (Docket Enfty

75). However, discovety matetials do not implicate this ptesumption.a The Foutth Circuit

has "never held that the public has a First Amendment right            of   access   to   a pre-trial heating




t    In re Application of lJnited Statesþr an Order Pursaanî to / I U.S.C, Section 2703(d),707 F.3d 283,290
    See
(4th Cir. 2013) (documents are subject to public âccess if used to "adjudicate substanttvetghts");In
rePo/iryMgnt. S1s. Corp., Nos.94-2254,94-2341.,67 F.3d296 (t^ble),1995 !ØL 541.623,at*4 (4thCtr.
Sept. 13, 1995) (unpublished) ("a document becomes a judicial document when a court uses it in
determining litigants' substantive rights"); In the Matter ( Cont'l lll. Secs, Utig.,732 F.2d 1,302,1308-
10 (7th Cfu.1984) þresumption of public dght of access applies to motion to tetminate dedvative
claims),
3
  See PoliE MgmÍ.,1995 ìØL 541.623, atx3-4 ("[n]either the Supreme Coutt nor this Coutt has evet
held that the mere filing of a document ftiggers the First Amendment guarantee of access" and thus
"[w]e hold that the mere filing of a document with a court does not render the document judicial").
a
  See Seaüle Time¡ 467 U.S. at 37 (genenlly, a protective order in the context of pre-ttizl discovery
"does not offend the First Amendment"); Bond u. Utreras,585 F.3d 1,061,1066 (7th Ctr, 2009) ("no
constitutional or common-law right of public access to discovery matetials" exists); Chicago Tribane
Co. u. Bridgesrone-Firestone,Inc.,263 F.3d 1304, 1315 (11th Cir. 2001) ("the Ptess's common-law rþht
of access does not extend to the sealed matetials submitted in connection with motions to compel
discovery"); Andenon u. Cryouac, Lnc.,805 F.2d 7, 1.2 (1.st Cfu. 1986) ("discovery ptoceedings ate
fundamentally different ftom proceedings to which the coutts have tecogruzed a public nght of
access"); United Slate: u. Anderson,799 F.zd 1.438, 1,441. (11th Ct. 1986) (discovely is a ptivate
process); In re Gannett News Seru. 1nc.,772 F.2d 1.1.3, 1.16 (5th Cir. 1985) ("[t]he tesults of pretrial
discovery may be testticted from the public").

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    on a non-dispositive civil motion." Virginia Dept.            of State Polirc u. ll/a:hington Post,386 F.3d

    567, 580 (4th Cir. 2004).         In that the   case, the   disttict court assumed that the public had       a


    First Amendment dght of access to pre-ttial documents in a civil matter, causing the Fouth

    Circuit   to direct the lowet court to            "reconsidet whether these documents should be

    accotded F'itst Amendment status." Id. at 581.. This ptesumption only exists                      fot judicial

tecotds and documents. Id. at 575.                   In addition, coutts     have recogntzed that non-party

    prtvacy interests outweigh the First Amendment dght of public access.S Flete, because the

parties are still     in the discovery stages, all documents fìled relate to discovery motions                and

are not yet judicial      recotds. Futther, the documents at issue telate to the ptivacy intetests of

non-patties. Thus, none of the documents garner a presumptive tight of public                              access


stemming ftom the Fitst Amendment ot the common-law


           'A.dditionally,
                              magistrate judges wield btoad discretion            to grant protective      otdets

during discovery, and may fìnd that the Government's interests outweigh any common-law

ptesumption of public access. In             re   Applic'arion,707 F'.3d at 294. Furthet, the Fourth Cfucuit

has often      left fot the disttict courts to decide whethet reasons for gtanting           â   protective order

"justify ptosctibing the Fitst Amendment right of âccess to judicial documents." Ra:hþrd,

846 tr.2d           254. It is the opinion of this Court that the teasons outlined by Plaintiff fot
               ^t
protecting the identities of those who have come forwatd in this case sufficiently justi$r the

proscription of the First Amendment right of public access

           Finally, even      if   the First Ämendment and the common-law did in fact shtoud the

discovery matetials at issue with a strong presumption of public access, this Court would still



'   See Robinson u. Bowser,   No. 1:12CV307,2073 WL        3791.770,   at*3-4 (À{,D.N.C. July 1,9,201,3)
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not be bound to modify its Protective Ordet. The fedetal judiciary is not constrained in any

way by state law requiring public âccess to documents.6 Here, Intervenot is similatly situated

as the news        otganizaionin the Gabby Giffotds            case;   it   seeks   to modiSt a protective ordet in

fedetal court based on its state public tecords law.7 Just as the motion was denied in

Arizona, it must be denied in North Catoltna as well.

III.      Conclusion

            Accordingly,      IT IS ORDERED that Intervenor's Motion to Modi$'                                Joint

Confidentia\ry and Protective Order (Docket E.rtty 74)be                            DENIED.     Although the pte-

trial discovery documents are not exempted undet the Notth Caroltna Genetal Statutes, the

documents are not'judicial recotds' that            g rîü      presumptive public access, not does state law

bind this Court. Thus, this Court had the power to issue the Ptotective Otder, and

continues to have the power to uphold              it.   The Protective Otdet is, howevet, MODIFIED,

in the following ways. Paragraph 3(a) of the Protective Ordet will no longet implement                          an


automatic confidential designation, but :zLther                it is the responsibility of the parties to seal,

redact, andf or designate as confidenttal any documents they wish to keep from public access

due to any "personally identifiable infotmation". Patagraph 8 of the Ptotective Ordet only

applies to non-judicial records, and does not shield documents used to adjudicate substantive

rights or attached to dispositive motions. Upon a proper motion l:y a party to seal, tedact,

andf      or   destgnate jadicial record¡ as confidenljral, a court     "must (1) ptovide public notice of the

request to seal and allow interested parties a reasonable opportunity to object, (2) considet

6      (J.5. u. I-,oughner,807 F.Supp. 2d 828,835 (D.4ti2.201,1) ("Gabby Giffords case") ("The Court
    See
concedes that Artzona's public records law supports the news orgatizattons' side, but also finds that
it is not in any way bound by that law").
1
    See   id. atB33.

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less drastic alternatives   to sealing the documents, and (3) ptovide specific reasons and factual

findings suppotting its decision to seal the documents and for rejecting the altetnatives."s




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Dutham, North Caroltna
Febtuary 1.0,201.4




"A:hcroft u. Conoco, Inc., 21.8 F.3d 288, 302 (4th Cir. 2000); see also Sîone a. Uniu. of Md, Med. S1:. Corp.,
855F,2d 1.78,1,81, (4thCir. 1988); InreKnightPublþ.C0.,743F.2d231,,235-36 (4thCir. 1'984).

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